OPINION — AG — THE OKLAHOMA PLANNING AND RESOURCES BOARD COULD NOT BIND THE STATE OF OKLAHOMA BY A PROVISION IN A CONTRACT SUCH AS THE MENTIONED THEREIN ABOVE, TO THE EFFECT THAT THE STATE WOULD HOLD THE OTHER PARTIES TO SUCH CONTRACT HARMLESS FROM ANY DAMAGES THAT MIGHT RESULT TO OTHERS FROM NEGLIGENCE IN THE CONSTRUCTION, MAINTENANCE OR OPERATION OF THE WATER DIVERSION PROJECT CONTEMPLATED BY SUCH CONTRACT. CITE: 74 O.S.H. 18(B), 74 O.S.H. 356.2, ARTICLE X, SECTION 15 (JAMES HARKIN) (HOLD HARMLESS)